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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  )     Chapter 7
 In re:                                           )
                                                  )
 DAMIEN AGUOCHA and                               )     Case No. 18-10841-elf
 OBIOMA U. AGUOCHA,                               )
                                                  )
                            Debtors.              )
                                                  )

                                CERTIFICATION OF SERVICE

          The undersigned certifies that on July 9, 2019, the foregoing CHAPTER 7 TRUSTEE’S

MOTION TO (I) APPROVE A SHORT SALE OF REAL PROPERTY FREE AND CLEAR OF

LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b),

(f), AND (m), (II) BID PROCEDURES, (III) SURCHARGE AGREEMENT BETWEEN

SECURED LENDER AND THE ESTATE, (IV) SECURED LENDER’S RIGHT TO CREDIT

BID, AND (V) OTHER RELIEF (the “Motion”) and AMENDED NOTICE OF MOTION was

served via first class mail on the following parties:

Via U.S. Mail
New Freedom Mortgage
10201 S. 51st Street #205
Phoenix, AZ 85044

New Freedom Mortgage
2520 N University Avenue
Provo, Utah, 84604

New Freedom Mortgage
2363 Foothill Drive
Salt Lake City, UT 84109


New Freedom Mortgage
Registered Agent
CT Corporation Systems/Shakinah Edwards
1201 Peachtree Street, NE
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Atlanta, GA 30361


                                           /s/ Holly S. Miller___
                                           Holly S. Miller
Dated: July 9, 2019
Philadelphia, PA
